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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


DECLARATION OF ERIC J. MONZO REGARDING FIRST INTERIM APPLICATION
    OF MORRIS JAMES LLP, AS DELAWARE COUNSEL TO THE OFFICIAL
   COMMITTEE OF EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF
  COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
        FROM SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023

STATE OF DELAWARE                            :
                                             :        SS
COUNTY OF NEW CASTLE                         :

         I, Eric, J. Monzo, after being sworn according to law, deposes and says:

         1.       I am a partner at the firm of Morris James LLP (“Morris James”), Delaware Counsel

to the Official Committee of Equity Security Holders (the “Equity Committee”).

         2.       I have read the foregoing First Interim Application of Morris James LLP, as

Delaware Counsel to the Official Committee of Equity Security Holders, for Allowance of

Compensation and Reimbursement of Expenses for the Period from September 7, 2023 through

December 31, 2023 and know the contents thereof. The same contents are true to the best of my

knowledge, except as to matters therein alleged to be upon information and belief, and as to those

matters, I believe them to be true. I have personally performed many of the legal services rendered

by Morris James and am thoroughly familiar with all other work performed on behalf of the Equity

Committee by the attorneys and paraprofessionals in Morris James.



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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         3.     In accordance with Rule 2016(a) of the Federal Rules of Bankruptcy Procedure and

Section 504 of the Title 11, United States Code, no agreement or understanding exists between

Morris James and any other person for the sharing of compensation to be received in connection

with the above-captioned case.

         4.      I have reviewed the requirements of Local Rule 2016-2 of the United States

Bankruptcy Court for the District of Delaware, and to the best of my knowledge, information and

belief, this Application complies with Local Rule 2016-2.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: February 14, 2024                              /s/ Eric J. Monzo
                                                      Eric J. Monzo (DE Bar No. 5214)




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